Case 1:18-cr-20773-KMW Document 1 Entered on FLSD Docket 09/27/2018 Page 1 of 8
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                               UNITED STA TES DISTRICT CO URT
                                                                                            Sep27,2018
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                    18-20IIs1qç.R-W ILLIAMS/TORRES
                                           18U.S.C.j1957
                                           18U.S.C.j9#2(a)(1)
    UNITED STATES OF AM ERICA

    VS.

    JERO M E ALLEN ,

                  Defendant.
                                       /

                                            INFOR M A TIO N

           Tht United StatesAttonwy chargesthat:

                                      M O NEY LA UNDERIN G
                                            (18U.S.C.j1957)
           On oraboutDecem ber 1,2014,in M iam i-DadeCounty,in theSouthem DistrictofFlorida,

    and elsewhere,the defendant,

                                           JER O M E ALLEN ,

    did knowingly engage and attemptto engage in a monetary transaction by,through,and to a

    financialinstitution,affecting interstate and foreign comm erce,in crim inally derived property of

    avalue greaterthan $10,000,thatis,thedeposit,withdrawal,and transferoffunds,such property
    having been derived from a speciGed unlawfulactivity.

           Itis furtheralleged thatthe specified unlawfulactivity isw ire fraud,in violation ofTitle

    18,United States Code,Section 1343.

           In violation ofTitle 18,United StatesCodes,Sections 1957 and 2.
Case 1:18-cr-20773-KMW Document 1 Entered on FLSD Docket 09/27/2018 Page 2 of 8




                                            FO RFEITURE
                                         (18U.S.C.j982(a)(1))
           The allegationsofthis Inform ation are re-alleged and by thisreference fully incom orated

    herein for the purpose ofalleging forfeiture to the United States ofcertain property in which the

    defendant,JERO M E A LLEN,has an interest. Upon conviction of the violation of Title 18,

    United StatesCodc,Section 1957,alleged in this Inform ation,thedefendantshallforfeitto the

    United States,any property,realorpersonal,involved in such offense,orany property traceable

    to such property.

           A1lpursuanttoTitlel8,UnitedStatesCode,Section982(a)(1),andtheproceduressetforth
    in Title 21,United States Code,Section 853,m ade applicable by Title 18,United States Code,

    Section982(b)(1).

                                                  !                  >o-tx,y
                                                A RIAN A FAJARDO ORSH AN
                                                U NITED STATES ATTORN EY
                                                SOUTH ERN D ISTRICT OF FLO RIDA



                                                DANIELBERNST/X
                                                A SSISTAN T UN ITED STATES AU O RNEY


                                                JOSEPH S.BEEM STERBOER
                                                DEPU TY CHIEF
                                                CRIM m A L DIV ISION,FRAUD SECTION
                                                U.S.D EPA RTM ENT OF JUSTICE



                                                DREW BRA DYLYON S
                                                                          W ,
                                                ELIZABETH Y OUNG
                                                TRIAL ATTORNEY S
                                                CRIM m AL DIV ISION ,FRAUD SECTION
                                                U.s.DEPARTM EN T OF JUSTICE


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Case 1:18-cr-20773-KMW Document 1 Entered on FLSD Docket 09/27/2018 Page 3 of 8
                         UNITED STATES DISTRICT COURT
                                        SOUTH ERN D ISTR ICT O F FLO RIDA

UNITED STATES OF AM ERICA                          CASE NO.

                                                   CERTIFICATE OF TRIA L ATTO RNEY.
JERO M E ALLEN,
                          Defendant
                                           /       Superseding CaseInformation:


CourtDivision:(selectone)                         New Defendantts)                   Yes                 No
                                                  NumberofNew Defendants                         -
  X    M iam i             K ev W est             Totalnumberofcounts
       FTL         -       W (B   -   FTP
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                 Iam ayaretjattheinformationsuppliedonthisstAtementwillberelieduponbytheJudgesofthis
                  ourtln settlng theircalm darsandschedulingcrim lnaltrialsunderthe mandateofthe Speedy Trial
                 Act,Tltle28U.S.C.Sectlon 3161.
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       4.        Thiscasewilltake          0      daysforthe partiesto try.
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                         yone)                                      (Checkonlyone)
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       11        6 to 10 days                                         lnor
       IIl       l1 to 20 days                                      M isdem .
       IV        21to 60 days                                       Felony                   U       '
       V         61daysand over
       6,        HasthiscasebeenpreviouslyGledinthisDistictCourt? (YesorNo)                      No
       Ifyes:
       Judge:                                              CaseNo.
       tAttachcopygfdispositiveordel)
       Hasacomplalntbeenfiledinthlsmatter?                 (YesorNo)          No
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       M aglskateCaseNo.
       RelatedM iscellaneousnumbers:
       Defendantls)jnfederalcustodyasof
       D                                                              -
         efendantts)lnstatecqstodyasof                               -
       Rule20 from the Distnctof
       Isthisapotentialdeathpenaltycase?(YesorNo)                   No
                Doesthiscase originate from a matterpending in theNorthern Region ofthe U.S.Attorney'sOffice
                priorto October14,2003?       Yes            No X




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*ptnaltySheetls)attached                                                                                      TLISNr5/3/17
Case 1:18-cr-20773-KMW Document 1 Entered on FLSD Docket 09/27/2018 Page 4 of 8




                              UNITED STA TES DISTR ICT C O URT
                              SO UTH ERN DISTRICT O F FLO RIDA


                                         PENALTY SHEET

    Defendant's Nam e:                   JERO M E ALLEN

    Case No:                                                    -           -




    Count#:

      Title 18.United StatesCode.Secsion 1957                   -          ---        -

        M onev Latmderina

    *M ax Penaltv:     Ten (10)vears'im orisonm ent.

    Count#:




    *M ax Penaltv:

    Count#:




    *M ax Penaltv:

    Cotmt#:




    *M ax Pçn-att-v:
            -          -             -
   WR efers only to possible term ofincarceration,doesnotinclude possible nnes,restitution,
   specialasgessm ents,parole term s,or fod eituresthatm ay be applicable.
Case 1:18-cr-20773-KMW Document 1 Entered on FLSD Docket 09/27/2018 Page 5 of 8

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                               U NITED STATES DISTRICT CO UR T
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                               SOU TH ERN DISTRICT OF FLO RIDA                               CLERK u b nls'r cT.
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                    18-20IIsX ç.R-W ILLIAMS/TORRES
                                           18U.S.C.j1957
                                           18U.S.C.j982(a)(1)
    UN ITED STATES O F AM ER ICA

    VS.

    JERO M E ALLEN ,

                   D efendant.
                                       !

                                            INFORM ATION

           TheUnittd SlatesAttorney chargtstbat:

                                       M O NEY LAUND ER IN G
                                            (18U.S.C.j 1957)
           On oraboutDecem ber1,2014,in M iam i-D ade County,in the Southem DistrictofFlorida,

    and elsewhere,the defendant,

                                           JERO M E A LLEN,

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    avaluegreaterth% $10,000,thatis,thedtposit,withdrawal,and transferoffunds,suchproperty
    having been derived from a specifed unlaw fulactivity.

           Itisfurtheralleged thatthespecified unlawfulactivity iswirefraud,in violation ofTitle

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           In violation ofTitle 18,United States Codes,Sections 1957 and 2.
Case 1:18-cr-20773-KMW Document 1 Entered on FLSD Docket 09/27/2018 Page 6 of 8




                                           FO RFEITURE
                                         (18U.S.C.j982(a)(1))
           The allegationsofthisInform ation are re-alleged and by thisreference fully incorporated

    herein forthe purpose ofalleging forfeiture to the United States ofcertain property in which the

   defendant,JERO M E A LLEN,has an interest. Upon conviction of the violation of Title 18,

    United StatesCode,Section 1957,alleged in thislnformation,thedefendantshallforfeitto the

   United States,any property,realorpersonal.involved in such offense,orany property traceable

   to such property.

           AlIptlrsuanttoTitle18,UnitedStatesCode,Section982(a)(1),andtheproceduressetforth
   in Title 21,United States Code,Section 853,m ade applicable by Title 18,United States Code,

   Section982(b)(1).

                                                 t                  o oo,k
                                               A RIAN A FA JA RDO O RSHAN
                                               UNITED STA TES ATTORNEY
                                               SOU THERN DISTRICT OF FLORID A



                                               D ANIEL BERN STEIN
                                               A SSISTANT UN ITED STATES A TTORN EY


                                               JOSEPH S.BEEM STERBOER
                                               D EPUTY CHIEF
                                               CRIM m A L DIVISION ,FM UD SECTION
                                               U .S.DEPARTM EN T OF JU STICE



                                               DREW BR AD YLYON S
                                                                         W &
                                               ELIZA BETH YOU NG
                                               TRIAL A TTORN EYS
                                               CRIM m A L D IV ISION ,FR AU D SECTION
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Case 1:18-cr-20773-KMW Document 1 Entered on FLSD Docket 09/27/2018 Page 7 of 8
                                      UNITED STATES DISTR ICT CO URT
                                      SOUTH ERN DISTR ICT O F FLORIDA

UNITED STATES OF AM ERICA                     CASE NO.                                                - .



V.
                                              CERTIFICATE O F TRIA L ATTO RNEY.
JEROM E ALLEN,
                         Defendant.
                                        /     Superseding CaseInformation:


CourtDivision:(selectone)                     New Defendantts)               Yes                 No
                                              NumberofNew Defendants
  X    M iami             Key W est           Totalnumberofcounts
       FTL                W PB      FTP
       Ido hereby certify that:
                Ihave carefully considered theallegationsofthe indictmept thenumberofdefendants,the number
                ofprobablewimessesandthelegalcomplexitiesoftheIndlclment/lnformationattachedhereto.
       2.       Iam awarethattheinform ation supplied onthisstatementwillbe relied upon by theJudgesofthis
                Court!
                     'n settingtheircalendarsand scheduling criminaltrialsunderthemandateoftheSpeedy Tnal
                                                                                                       '
                Act,Tltle28 IT.S.C.Section 3161.
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                     l eter: f  yesorNo)       No
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       4.       Thiscase willtake       0     daysforthepartiestotry.
                Please check appropriatecategory and typeofoffense listed below:
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                        yone)                                (Checkonl
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       IV       2lto 60 days                                 Felony                     U
       V        6ldaysand over
       6.       HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo)                No
       lfyes:
       Judge:                                         CaseNo.
       tAttachcopygfdispositiveordeq)
       Hasacomplalntbeenfiledinthlsmatter?            (YesorNo)       No
       Ifyej:
       M aglslate CaseNo.
       Related M isclllaneousnumbers:                                               -
       Defendantts)lnfederalcustody asof                          -            -
       Defendantts)lnsotycustodyasof                                               --
       Rule20from tjeDlslictof
       I
       sthisapotentlaldeathpenaltycase?(YesorNo)             No

                Doesthiscaseoriginatefrom amatterpending in theNorthernRegion oftheU.S,Attorney'sOffice
                priorto October 14,2003?   Yes             No X




                                                      E     BET
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                                                      CourtID No. 0185

#penaltySheetls)attached                                                                                    TLISA/5/3/17
Case 1:18-cr-20773-KMW Document 1 Entered on FLSD Docket 09/27/2018 Page 8 of 8




                           UNITED STATES DISTRICT CO URT
                           SO UTH ERN DISTRICT O F FLO RIDA


                                      PENALTY SHEET

   Defendant'sNam e:                  JERO M E A LLEN

   Case No:

   Count#:

     Title 18.UnitedSutesCodm Section 1957                                -




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   Count#'
         .




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   Cotmt#:




   *M ax Penaltv:

   Cotmt#:




   *M ax Pçnaltv:

   *Refersonly to possible term ofincarceration,doesnotinclude possible snes,restitution,
   specialassessm ents.parole term s,or forfeituresthatm ay be applicable.
